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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF CONNECTICUT


UNITED STATES OF AMERICA              :

V.                                    :     CASE NO. 3:13CR226(RNC)

DANIEL E. CARPENTER &                 :
WAYNE BURSEY                          :

                                    ORDER

     Defendants have moved to postpone jury selection [ECF Nos.

33, 40, 45].     The motions are granted subject to the filing of a

properly executed waiver of the defendants’ rights under the

Speedy Trial Act (“the Act”), 18 U.S.C. §§ 3161, et seq., which

specifically waives the period of delay from March 11, 2014

until March 10, 2015.

     The Act generally requires that the trial of a defendant

commence within seventy days after the filing of the indictment

or the date the defendant first appears in court, whichever is

later.    18 U.S.C. § 3161(c)(1).       A continuance may be granted if

the court finds “that the ends of justice served by taking such

action outweigh the best interest of the public and the

defendant in a speedy trial.”        18 U.S.C. § 3161(h)(7)(A).

Relevant factors include whether failure to grant the

continuance would deny counsel reasonable time necessary for

effective preparation.
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     In support of the defendants’ motions for a continuance,

defendants explain that discovery is voluminous, encompassing

hundreds of thousands of documents, and that time will be needed

to review discovery and prepare pre-trial motions.         Crediting

these representations, I find that the ends of justice served by

the requested continuance outweigh the interest of the public

and the defendants in a speedy trial in that failure to grant

the continuance would deny counsel reasonable time necessary for

effective preparation taking account of the exercise of due

diligence.   18 U.S.C. § 3161(h)(7)(B)(iv).

     Accordingly, the defendants’ requests are hereby granted.

The period March 11, 2014 through March 10, 2015 will be

excluded under the Act subject to the filing of a waiver of the

defendant’s rights as more fully described above.

     Jury selection is hereby rescheduled to March 10, 2015 at

9:00 a.m.

     So ordered this 6th day of March, 2014.



                                                   /s/RNC
                                             Robert N. Chatigny
                                        United States District Judge
